






Opinion issued December 5, 2002













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01200-CR

____________


LOUIS CHARLES DEAN, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 178th District Court

Harris County, Texas

Trial Court Cause No. 916202






MEMORANDUM  OPINION

	We are without jurisdiction to entertain this appeal.  Appellant was
sentenced in this case on September 5, 2002.  No motion for new trial was filed.  The
deadline for filing notice of appeal was therefore Monday, October 7, 2002, because
the thirtieth day after sentencing fell on a weekend.  Tex. R. App. P. 4.1(a), 26.2(a)(1).

	Notice of appeal was deposited in the mail on October 9, 2002, according
to the postmark on the copy of the envelope included in the clerk's record.  Because
the notice of appeal was mailed after the filing deadline, it did not comply with Rule
9.2 of the Texas Rules of Appellate Procedure, the "mailbox rule."  See Tex. R. App.
P. 9.2(b).  Although the notice of appeal was filed within the 15-day time period for
filing a motion for extension of time to file notice of appeal, no such motion for
extension of time was filed.  See Tex. R. App. P. 26.3.

	We therefore dismiss the appeal for lack of jurisdiction.  Slaton v. State, 981
S.W.2d 208, 209-10 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522
(Tex. Crim. App. 1996).

	It is so ORDERED.

PER CURIAM

Panel consists of Justices Hedges, Keyes, and Duggan. (1)

Do not publish.  Tex. R. App. P. 47.
1.    	The Honorable Lee Duggan, Jr., retired Justice, Court of Appeals, First District
of Texas at Houston, participating by assignment.


